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 1   DAVID A. TORRES AND ASSOCIATES
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     Bakersfield, CA 93301
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     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     CANDACE GONZALEZ
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                     ) Case No.: 1:12-cr-00213 AWI-BAM
10   UNITED STATES OF AMERICA,                       )
                                                     )
11                  Plaintiff,                       ) STIPULATION AND ORDER TO
                                                     ) CONTINUE SENTENCING HEARING
12          vs.                                      )
                                                     )
13   CANDACE GONZALEZ,                               )
                                                     )
14                  Defendant                        )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   ANTHONY W. ISHII AND HENRY CARBAJAL, ASSISTANT UNITED STATES
17   ATTORNEY:
18          COMES NOW Defendant, CANDACE GONZALEZ, by and through her attorney of
19   record, DAVID A. TORRES hereby requesting that the Sentencing currently set for Monday,
20   March 21, 2016 be continued to Monday, May 11, 2016.
21          I am recently recovering from pneumonia which I contracted approximately two weeks
22   ago. Apart from this particular case, I have been preparing for trial in the matter of People v.
23   Castro; BF154926A. In the process of preparing as well as my illness, I was unable to prepare
24   the sentencing statement in the case of United State v. Candace Gonzalez. A sentencing
25   statement will be extremely helpful to this court so that we may inform them of Ms. Gonzalez’s




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 1   personal life, her employment history, and her numerous accomplishments since the time this

 2   action was filed. In addition, the sentencing statement will outline what she has done to change

 3   her life as a result of this conviction. I have spoken to AUSA Henry Carbajal, and he has no

 4   objection to continuing the Sentencing Hearing.

 5          The parties also agree the delays resulting from the continuance shall be excluded in the

 6   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

 7           IT IS SO STIPULATED.

 8                                                               Respectfully Submitted,

 9   DATED: 3/17/16                                              /s/ David A Torres     ___
                                                                 DAVID A. TORRES
10                                                               Attorney for Defendant
                                                                 CANDACE GONZALEZ
11

12
     DATED: 3/17/16                                              /s/Henry Carbajal ________
13                                                               HENRY CARBAJAL
                                                                 Assistant U.S. Attorney
14

15
                                                ORDER
16

17
            IT IS SO ORDERED that the Sentencing hearing be continued to Monday, May 9,
18
     2016 at 10:00am in courtroom 2 on the 8th floor.
19

20   IT IS SO ORDERED.

21   Dated: March 17, 2016
                                                SENIOR DISTRICT JUDGE
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